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                  EXHIBIT II Part 1
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       8    Chief P•'obation Interven0r-Defendants
       9
  10                                IN THE UNITED STATES DISTRICT COURTS
  11                              FOR THE.EASTERN DISTRICT OF CALIFORNIA
  12                             AND THE NORTHERN DISTRICT OF CALIFORNIA
  13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  t4                      PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
  15
            RALPH         COLEMAN, et al.,                   Case No: CIV S-90-0520 LKK JFM P
  16
                             Plaintiffs,                     THREE-JUDGE COURT
  17
                    VS.
  18
           ARNOLD          SCHWARZENEGGER, et
  19       al.•
 20                           Defendants.
 21
                                                             [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                             CaseNo.: C01-135.1 TEH
 23        MARCIANO           PLATA,. et al.,
                                                             THREE-JUDGE COURT
 24                          Plaintiffs,
                                                             INTERVENOR-DEFEN]i)ANT SAN
 25               VS.                                        MATEO. COUNTY SHERIFF'S
                                                             RESPONSES TO PLAINTIFFS' FIRST
 26        ARNOLD          SCHWARZENEGGER, et                SET OF INTERROGATORIES
           al.,
 27
                             Defendants.
 28
                                                            -l-
           INTERVENOR=DEFENDANT SAN MATEO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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            PROPOUNDING PARTIES:                     Plaintiffs, MARCIANO PLATA, et al.
       2    RESPONDING PARTY:                        Interven0r-Defendant, SAN MATEO COUNTY
       3                                             SHERIFF
       4    SET NUMBER:                              One (1)
       5               TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
       6               Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant' San
       7    Mateo CountySheriff separately and fully responds to Plaintiffs' First Set of
       8    Interrogatories as follows:
       9                            Prelimin ary Statement and General Objections
  10                   1.     Intervenor-Defendant has not. completed investigation of the facts relating
  11        to this  Case, has not completed discovery in.this action andhas not completed preparation
  1;2       for trial. Therefore, these responses, while based on diligent factual exploration, reflect
  13        only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  14        regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  15       .the right to supplement these responses with subsequently obtained or discovered.
  16        information. With regard to each interrogatory, Intervenor-Defendant reserves-the right,
  17        notwithstanding these answers and responses, to employ at trial or in any pretrial
  18       proceeding herein information subsequently .obtained or discovered; information the
  19       materiality of which is not presently ascertained, or information Intervenor-Defendant
 20        does not regard as coming within the scope of the interrogatories as Intervenor-Defendan
 21        understands them.
 22                   2.     These responses are made solely for the purpose of this action. Each
 23        answer      is subject to all objections as to competence, relevance, materiality; propriety,
 24        admissibility, privacy, privilege, and any and all other objections that. would require
 25        exclusion of any statement contained herein if any such interrogatories were asked of,
                                                                                                   or
26         any. statement contained herein if any such interrogatories were asked or; or any
27.        statement contained herein were made  by, a witness present and testifying in court, all of
28         which objections and grounds-are reserved and may be interposed at the time of trial.
                                                               -2-
           INTERVENORzDgI•'PSNDANT SAN MATEO COUNTY SHERIEF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                       3.   Except for explicit facts admitted herein, no incidental or implied
       2    admissions.are intended hereby. Intervenor-Defendant's answers or objections to any
       3    interrogatory are not an admission of any factset forth or assumed :by that.interrogatory.
      4     In addition, each of Intervenor-Defendant's answers to an interrogatory, or part of any
       5    interrogatory is not a waiver of part or all of any objection fie might make to that
      6     interrogatory, or an admission that such answer or objection constitutes-admissible
      7     evidence. Intervenor-Defendant asserts these objections without waiving or intending to
      8    waive any objections as to competency, relevancy, materiality orprivilege.
      9             4.     To •he extent Intervenor,Defendant responds to these interrogatories, the
  10       responses will notinclude information protected by the right of privacy. All Objections
  11       on the grounds of constitutional and common law privacy rights are expressly preserved.

  12                5.      Intervenor-Defendant objects to each and every Interrogatory to the extent
  t3       that Piaintiffs are requesting information that is neither relevant to the subject matter of
  14       this action nor reasonably calculated to lead to the discovery of admissible evidence.
 15                6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 16        are vague and ambiguous and do not include adequate definition, specificity, or limiting

 17        factors.
 18                   7.     Intervenor-Defendant objects, to the Definitions provided by Plaintiffs and
 19        the term '.'PERSON." The definition is vague, ambiguous, and overbroad as used in thes•
 20        Interrogatories.
 21                Subject to and without waiving the foregoing objections,-and incorporating them
 22        by reference into each of the responses provided below, Intervenor-Defendant hereby
 23        responds as follows:
-24        INTERROGATORY NO. 1:
25                From      January 1; 1995 until the present• have any limit(s) been in place,      as   the
26         result of any lawsuit, on the number of people that can be housed in any jail operated
27         and/or maintained by YOU? If so:
28                          (a)     State the name, date and case number of every case which resulted

           INTERVENOR-DEFENDANT SAN MATEO COUNTY SHERIFF'S RESPONSES-TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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        1     any such limit(s).
       2      RESPONSE TO INTERROGATORY NO. 1:
       3                 In addition to the General Objectioni stated above, Intervenor-Defendant objects
       4      to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
       5      extent that it seeks information not relevant to this litigation nor reasonably calculated to

       6      lead to the discovery of admissible evidence.
       7              Without waiving and subject to the objections, Intervenor-Defendant responds tha"
       8      from January 1, 1995 until present, no limits have been in place on the number of people
       9.-    that can be housed in any jail operated and/or maintained by Intervenor-Defendant.
  10         INTERROGATORY NO. 2:
  11                     In any instance, from January 1, 1995 until the present, in which any.limit(s) have
  12         been in place on the number of people that can be housed in any jail operated and/or
  13         maintained by YOU, What mechanisms were used to comply.with thosetimits?
  14                           (a)     Identify all DOCUMENTS which relate to YOUR answer.
  15                           (b)     Identify all PERSONS whom YOU believe or suspect have
  16         information to support YOUR         answer.

  17         ,RESPONSE TO INTERROGATORY NO. 2:
  t8                    In addition to the General Objections stated above, Intervenor-Defendant objects
  19         to this    interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 20          extent that it seeks    information not relevant to this litigation nor reasonably calculated to
 21          lead to the discovery of admissible evidence.
 22                     Without waiving and subject to the objections, Intervenor-Defendant responds that
 23          from January 1, 1995 until present, there have been no mechanisms in place to comply
 24          with any limits on the number of people that can be housed in any jail operated and/or
 25          maintained by Intervenor-Defendant.
 26          INTERROGATORY NO. 3:
 27                     From January   1, 1995 until present, how many people have had their releases from
 28          any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed

             INTERVENOR-DEFENDANT SAN MATEO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
